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            IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF MARYLAND


UNITED STATES OF AMERICA,                        )
                                          )
                                          )
             v.                           )      Case No. CCB-18-0276
                                          )
                                          )
DARRYL DE SOUSA                           )


                           ENTRY OF APPEARANCE

      Please enter the appearance of Steven D. Silverman as co-counsel for defendant

Darryl De Sousa.


                           Respectfully Submitted,



                           ______________​/S/​_______________
                           Steven D. Silverman (Federal Bar No. 22887)
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